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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

United States of America, et al.
                                            Plaintiff,
v.                                                          Case No.: 1:20−cv−02658
                                                            Honorable Gary Feinerman
Dairy Farmers of America, Inc., et al.
                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 30, 2020:


        MINUTE entry before the Honorable Gary Feinerman:Motion for leave to file [30]
is granted. Non−party Wisconsin Legislature shall file its letter as a separate docket
entry.Mailed notice.(jlj, )




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